          Case 7:17-cv-01114-RDP Document 145 Filed 09/18/19 Page 1 of 3                                 FILED
                                                                                                2019 Sep-18 PM 01:46
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ALABAMA
                                  WESTERN DIVISION


MICHAEL W. RONDINI, as                                )
Administrator and Personal                            )
Representative for the Estate of MEGAN                )
ELIZABETH RONDINI,                                    )
Deceased,                                             )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )      CASE NUMBER
                                                      )      7:17-CV-01114-RDP
                                                      )
TERRY J. BUNN, JR.,                                   )
                                                      )
                                                      )
        Defendant.                                    )



     CONSENT MOTION TO EXTEND DEFENDANT'S DEADLINE TO REPLY TO
        PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO STRIKE

COMES NOW Terry J. Bunn, Jr. (hereinafter "Defendant") and moves this Court by consent

motion to extend Defendant's deadline to reply to Plaintiff's Response to Defendant's Motion to

Strike. In support thereof, Defendant states as follows:


                                 I. RELEVANT BACKGROUND

1. On August 23, 2019, Defendant filed a Motion to Strike Plaintiff's Experts, Dr. Ziba Rezaee

     and Dr. Susan Arnold (Doc. 140).

2. On September 13, 2019, Plaintiff filed a Response to Defendant's Motion to Strike. (Doc. 144).

3. On September 18, 2019, undersigned counsel for Defendant contacted counsel for Plaintiff,

     and requested consent to extend Defendant's reply deadline for its reply to Plaintiff's Response

     to Defendant's Motion to Strike.


                                                  1
         Case 7:17-cv-01114-RDP Document 145 Filed 09/18/19 Page 2 of 3



4. On September 18, 2019, counsel for Plaintiff consented to Defendant's request to extend the

   reply deadline for its reply to Plaintiff's Response to Defendant's Motion to Strike.

5. As such, Defendant respectfully brings this consent motion for an Order to extend the deadline

   pursuant to the consensual agreement between the parties' counsel, and respectfully asks this

   Court to extend Defendant's deadline to file a reply to Plaintiff's Response to Defendant's

   Motion to Strike to Friday, September 20th.

                                       II. CONCLUSION

       WHEREFORE, premises considered, Defendant respectfully moves this Court to

GRANT the consent motion to extend Defendant's deadline to Friday, September 20th for filing

a reply brief to Plaintiff's Response to Defendant's Motion to Strike.



                                              Respectfully submitted,


                                              /s/ Richard E. Smith
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                                                 2
         Case 7:17-cv-01114-RDP Document 145 Filed 09/18/19 Page 3 of 3



                              CERTIFICATE OF SERVICE


        I hereby certify that I have this date, using the CM/ECF filing system which will send
electronic notification of such filing, served a copy of the foregoing pleading upon all counsel of
record:



Leroy Maxwell, Jr.
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                                             /s/ Richard E. Smith
                                             OF COUNSEL




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